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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHAUNA NOEL and EMMANUELLA SENAT,                             :

                          Plaintiffs,                         :

                 -against-                                    :    15-CV-5236 (LTS) (KHP)

CITY OF NEW YORK,                                             :

                          Defendant.                          :

---------------------------------------------------------------x

                 PLAINTIFFS’ NOTICE OF MOTION TO RECONSIDER
                          PURSUANT TO LOCAL RULE 6.3
                 THE APRIL 28, 2023 DECISION AND ORDER (ECF 970)
             INSOFAR AS IT RELATES TO DISPARATE IMPACT LIABILITY

        PLEASE TAKE NOTICE that, upon Plaintiffs’ May 5, 2023 Memorandum of Law in

Support of Plaintiffs’ Motion to Reconsider Pursuant to Local Rule 6.3 the April 28, 2023 Opinion

and Order (ECF 970) insofar as it relates to disparate impact liability; and upon all prior papers

and proceedings had herein; plaintiffs will move this Court before the Hon. Laura Taylor Swain,

at the United States Courthouse for the Southern District of New York, 500 Pearl Street, New

York, New York, as soon as it is convenient for the Court to hear counsel, for:

        (1) reconsideration of so much of the Memorandum Opinion and Order on Cross-Motions

for Summary Judgment of April 28, 2023, ECF 970 (“SJ Opinion”) as addressed the existence of

disparate impacts; and

        (2) an order modifying the SJ Opinion to:

                 (a) deny defendant’s cross-motion for summary judgment in respect to the existence

of disparate impacts;




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               (b) grant plaintiffs’ motion for partial summary judgment in respect to the existence

of disparate impacts; and

               (c) grant such other and further relief as to the Court seems just and proper.

       PLEASE TAKE FURTHER NOTICE that, in accordance with Local Rule 6.1(b) of this

Court, defendant’s opposition to this motion must be filed on or before May 19, 2023 (whereupon

plaintiffs’ reply shall be filed on or before May 26, 2023).


Dated: New York, New York
       May 5, 2023



                                                          Craig Gurian
                                                      _________________________________
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